           Case 20-31845-sgj11 Doc 1 Filed 07/05/20                                  Entered 07/05/20 21:03:24                  Page 1 of 21

 Hknn!kp!vjku!kphqtocvkqp!vq!kfgpvkh{!vjg!ecug<!

!!Wpkvgf!Uvcvgu!Dcpmtwrve{!Eqwtv!hqt!vjg<
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                     !!!Fkuvtkev!qh!!aaaaaaaaaaaaaaaaa!
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Xqnwpvct{!Rgvkvkqp!hqt!Pqp.Kpfkxkfwcnu!Hknkpi!hqt!Dcpmtwrve{!                                                                                          15031  !
Kh!oqtg!urceg!ku!pggfgf-!cvvcej!c!ugrctcvg!ujggv!vq!vjku!hqto/!Qp!vjg!vqr!qh!cp{!cffkvkqpcn!rcigu-!ytkvg!vjg!fgdvqtu!pcog!cpf!vjg!ecug!
pwodgt!)kh!mpqyp*/!!Hqt!oqtg!kphqtocvkqp-!c!ugrctcvg!fqewogpv-!Kpuvtwevkqpu!hqt!Dcpmtwrve{!Hqtou!hqt!Pqp.Kpfkxkfwcnu-!ku!cxckncdng/!




 2/!   Fgdvqtu!pcog!                         Nellix, Inc.
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            Case 20-31845-sgj11 Doc 1 Filed 07/05/20                             Entered 07/05/20 21:03:24                     Page 2 of 21

Fgdvqt!         Nellix, Inc.
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 7/!   V{rg!qh!fgdvqt!!                     #!Eqtrqtcvkqp!)kpenwfkpi!Nkokvgf!Nkcdknkv{!Eqorcp{!)NNE*!cpf!Nkokvgf!Nkcdknkv{!Rctvpgtujkr!)NNR**!
                                            #!Rctvpgtujkr!)gzenwfkpi!!NNR*!
                                            #!Qvjgt/!Urgekh{<!aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!

                                            C/!Ejgem!qpg<!
 8/!   Fguetkdg!fgdvqtu!dwukpguu!
                                            #!Jgcnvj!Ectg!Dwukpguu!)cu!fghkpgf!kp!22!W/U/E/!©!212)38C**!
                                            #!Ukping!Cuugv!Tgcn!Guvcvg!)cu!fghkpgf!kp!22!W/U/E/!©!212)62D**!
                                            #!Tckntqcf!)cu!fghkpgf!kp!22!W/U/E/!©!212)55**!
                                            #!Uvqemdtqmgt!)cu!fghkpgf!kp!22!W/U/E/!©!212)64C**!
                                            #!Eqooqfkv{!Dtqmgt!)cu!fghkpgf!kp!22!W/U/E/!©!212)7**!
                                            #!Engctkpi!Dcpm!)cu!fghkpgf!kp!22!W/U/E/!©!892)4**!
                                            #!Pqpg!qh!vjg!cdqxg!

                                            D/!Ejgem!cnn!vjcv!crrn{<!

                                            #!Vcz.gzgorv!gpvkv{!)cu!fguetkdgf!kp!37!W/U/E/!©!612*!
                                            #!Kpxguvogpv!eqorcp{-!kpenwfkpi!jgfig!hwpf!qt!rqqngf!kpxguvogpv!xgjkeng!)cu!fghkpgf!kp!26!W/U/E/!
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 9/!   Wpfgt!yjkej!ejcrvgt!qh!vjg!          Ejgem!qpg<!
       Dcpmtwrve{!Eqfg!ku!vjg!
       fgdvqt!hknkpiA!                      #!Ejcrvgt!8!!
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       C!fgdvqt!yjq!ku!c!uocnn!dwukpguu!
       fgdvqt!owuv!ejgem!vjg!hktuv!uwd.                  # Vjg!fgdvqt!ku!c!uocnn!dwukpguu!fgdvqt!cu!fghkpgf!kp!22!W/U/E/!©!212)62F*-!cpf!kvu
       dqz/!C!fgdvqt!cu!fghkpgf!kp!                              ciitgicvg!pqpeqpvkpigpv!nkswkfcvgf!fgdvu!)gzenwfkpi!fgdvu!qygf!vq!kpukfgtu!qt!
       ©!2293)2*!yjq!gngevu!vq!rtqeggf!                          chhknkcvgu*!ctg!nguu!vjcp!%3-836-736/!Kh!vjku!uwd.dqz!ku!ugngevgf-!cvvcej!vjg!oquv!
       wpfgt!uwdejcrvgt!X!qh!ejcrvgt!22!                         tgegpv!dcncpeg!ujggv-!uvcvgogpv!qh!qrgtcvkqpu-!ecuj.hnqy!uvcvgogpv-!cpf!hgfgtcn!
       )yjgvjgt!qt!pqv!vjg!fgdvqt!ku!c!                          kpeqog!vcz!tgvwtp!qt!kh!cp{!qh!vjgug!fqewogpvu!fq!pqv!gzkuv-!hqnnqy!vjg!rtqegfwtg!kp!
       uocnn!dwukpguu!fgdvqt*!owuv!                            22!W/U/E/!©!2227)2*)D*/!
       ejgem!vjg!ugeqpf!uwd.dqz/!                            #   Vjg!fgdvqt!ku!c!fgdvqt!cu!fghkpgf!kp!22!W/U/E/!©!2293)2*-!kvu!ciitgicvg!
                                                                 pqpeqpvkpigpv!nkswkfcvgf!fgdvu!)gzenwfkpi!fgdvu!qygf!vq!kpukfgtu!qt!chhknkcvgu*!ctg!
                                                                 nguu!vjcp!%8-611-111-!cpf!kv!ejqqugu!vq!rtqeggf!wpfgt!Uwdejcrvgt!X!qh!
                                                                 Ejcrvgt!22/!Kh!vjku!uwd.dqz!ku!ugngevgf-!cvvcej!vjg!oquv!tgegpv!dcncpeg!ujggv-!
                                                                 uvcvgogpv!qh!qrgtcvkqpu-!ecuj.hnqy!uvcvgogpv-!cpf!hgfgtcn!kpeqog!vcz!tgvwtp-!qt!kh!
                                                                 cp{!qh!vjgug!fqewogpvu!fq!pqv!gzkuv-!hqnnqy!vjg!rtqegfwtg!kp!22!W/U/E/!
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                                                             #! Ceegrvcpegu!qh!vjg!rncp!ygtg!uqnkekvgf!rtgrgvkvkqp!htqo!qpg!qt!oqtg!encuugu!qh!
                                                                 etgfkvqtu-!kp!ceeqtfcpeg!ykvj!22!W/U/E/!©!2237)d*/!

                                                             #! Vjg!fgdvqt!ku!tgswktgf!vq!hkng!rgtkqfke!tgrqtvu!)hqt!gzcorng-!21M!cpf!21S*!ykvj!vjg!
                                                                 Ugewtkvkgu!cpf!Gzejcpig!Eqookuukqp!ceeqtfkpi!vq!©!24!qt!26)f*!qh!vjg!Ugewtkvkgu!
                                                                 Gzejcpig!Cev!qh!2;45/!Hkng!vjg!Cvvcejogpv!vq!Xqnwpvct{!Rgvkvkqp!hqt!Pqp.Kpfkxkfwcnu!Hknkpi!
                                                                 hqt!Dcpmtwrve{!wpfgt!Ejcrvgt!22!)Qhhkekcn!Hqto!312C*!ykvj!vjku!hqto/!

                                                             #! Vjg!fgdvqt!ku!c!ujgnn!eqorcp{!cu!fghkpgf!kp!vjg!Ugewtkvkgu!Gzejcpig!Cev!qh!2;45!Twng!
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            Case 20-31845-sgj11 Doc 1 Filed 07/05/20                              Entered 07/05/20 21:03:24                    Page 3 of 21

Fgdvqt!          Nellix, Inc.
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 ;/!   Ygtg!rtkqt!dcpmtwrve{!ecugu!       #!Pq!!
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       ykvjkp!vjg!ncuv!9!{gctuA!          #![gu/!! Fkuvtkev!! aaaaaaaaaaaaaaaaaaaaaaa!! Yjgp!!aaaaaaaaaaaaaaa!! Ecug!pwodgt! aaaaaaaaaaaaaaaaaaaaaaaaa!
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       rgpfkpi!qt!dgkpi!hkngf!d{!c!
       dwukpguu!rctvpgt!qt!cp!
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                                          #![gu/!! Fgdvqt!! aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!!                Affiliate
                                                                                                            Tgncvkqpujkr!! aaaaaaaaaaaaaaaaaaaaaaaaa!
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       cvvcej!c!ugrctcvg!nkuv/!               !        Ecug!pwodgt-!kh!mpqyp! aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!



 22/! Yj{!ku!vjg!ecug!hkngf!kp!vjku!      Ejgem!cnn!vjcv!crrn{<!
       fkuvtkevA!!
                                          #!Fgdvqt!jcu!jcf!kvu!fqokekng-!rtkpekrcn!rnceg!qh!dwukpguu-!qt!rtkpekrcn!cuugvu!kp!vjku!fkuvtkev!hqt!291!fc{u!
                                              koogfkcvgn{!rtgegfkpi!vjg!fcvg!qh!vjku!rgvkvkqp!qt!hqt!c!nqpigt!rctv!qh!uwej!291!fc{u!vjcp!kp!cp{!qvjgt!
                                              fkuvtkev/!

                                          #!C!dcpmtwrve{!ecug!eqpegtpkpi!fgdvqtu!chhknkcvg-!igpgtcn!rctvpgt-!qt!rctvpgtujkr!ku!rgpfkpi!kp!vjku!fkuvtkev/!

 23/! Fqgu!vjg!fgdvqt!qyp!qt!jcxg!         #!Pq!
       rquuguukqp!qh!cp{!tgcn!             #![gu/!Cpuygt!dgnqy!hqt!gcej!rtqrgtv{!vjcv!pggfu!koogfkcvg!cvvgpvkqp/!Cvvcej!cffkvkqpcn!ujggvu!kh!pggfgf/!
       rtqrgtv{!qt!rgtuqpcn!rtqrgtv{!
       vjcv!pggfu!koogfkcvg!                  !    Yj{!fqgu!vjg!rtqrgtv{!pggf!koogfkcvg!cvvgpvkqpA!!)Ejgem!cnn!vjcv!crrn{/*!
       cvvgpvkqpA!
                                                   #! Kv!rqugu!qt!ku!cnngigf!vq!rqug!c!vjtgcv!qh!kookpgpv!cpf!kfgpvkhkcdng!jc|ctf!vq!rwdnke!jgcnvj!qt!uchgv{/!
                                                   !       Yjcv!ku!vjg!jc|ctfA!aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!

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                                                   #! Kv!kpenwfgu!rgtkujcdng!iqqfu!qt!cuugvu!vjcv!eqwnf!swkemn{!fgvgtkqtcvg!qt!nqug!xcnwg!ykvjqwv!
                                                           cvvgpvkqp!)hqt!gzcorng-!nkxguvqem-!ugcuqpcn!iqqfu-!ogcv-!fckt{-!rtqfweg-!qt!ugewtkvkgu.tgncvgf!
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!!!Qhhkekcn!Hqto!312!                         Xqnwpvct{!Rgvkvkqp!hqt!Pqp.Kpfkxkfwcnu!Hknkpi!hqt!Dcpmtwrve{!                                  rcig!4!
           Case 20-31845-sgj11 Doc 1 Filed 07/05/20                                    Entered 07/05/20 21:03:24                       Page 4 of 21

Fgdvqt!
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 24/! Fgdvqtu!guvkocvkqp!qh!             Ejgem!qpg<!
     cxckncdng!hwpfu!                     #!Hwpfu!yknn!dg!cxckncdng!hqt!fkuvtkdwvkqp!vq!wpugewtgf!etgfkvqtu/!
                                          #!Chvgt!cp{!cfokpkuvtcvkxg!gzrgpugu!ctg!rckf-!pq!hwpfu!yknn!dg!cxckncdng!hqt!fkuvtkdwvkqp!vq!wpugewtgf!etgfkvqtu/!!

                                          #!2.5;!                                 #!2-111.6-111!                                 #!36-112.61-111!
 25/! Guvkocvgf!pwodgt!qh!
                                          #!61.;;!                                #!6-112.21-111!                                #!61-112.211-111!
     etgfkvqtu!
                                          #!211.2;;!                              #!21-112.36-111!                               #!Oqtg!vjcp!211-111!
                                          #!311.;;;!

                                          #!%1.%61-111!                           #!%2-111-112.%21!oknnkqp!                      #!%611-111-112.%2!dknnkqp!
 26/! Guvkocvgf!cuugvu!
                                          #!%61-112.%211-111!                     #!%21-111-112.%61!oknnkqp!!                    #!%2-111-111-112.%21!dknnkqp!
                                          #!%211-112.%611-111!                    #!%61-111-112.%211!oknnkqp!                    #!%21-111-111-112.%61!dknnkqp!
                                          #!%611-112.%2!oknnkqp!                  #!%211-111-112.%611!oknnkqp!                   #!Oqtg!vjcp!%61!dknnkqp!

                                          #!%1.%61-111!                           #!%2-111-112.%21!oknnkqp!                      #!%611-111-112.%2!dknnkqp!!
 27/! Guvkocvgf!nkcdknkvkgu!
                                          #!%61-112.%211-111!                     #!%21-111-112.%61!oknnkqp!                     #!%2-111-111-112.%21!dknnkqp!
                                          #!%211-112.%611-111!                    #!%61-111-112.%211!oknnkqp!                    #!%21-111-111-112.%61!dknnkqp!
                                          #!%611-112.%2!oknnkqp!                  #!%211-111-112.%611!oknnkqp!                   #!Oqtg!vjcp!%61!dknnkqp!


 !            Tgswguv!hqt!Tgnkgh-!Fgenctcvkqp-!cpf!Ukipcvwtgu!


 YCTPKPI!..!! Dcpmtwrve{!htcwf!ku!c!ugtkqwu!etkog/!!Ocmkpi!c!hcnug!uvcvgogpv!kp!eqppgevkqp!ykvj!c!dcpmtwrve{!ecug!ecp!tguwnv!kp!hkpgu!wr!vq!
              %611-111!qt!kortkuqpogpv!hqt!wr!vq!31!{gctu-!qt!dqvj/!!29!W/U/E/!©©!263-!2452-!262;-!cpf!4682/!


 28/! Fgenctcvkqp!cpf!ukipcvwtg!qh!           !   Vjg!fgdvqt!tgswguvu!tgnkgh!kp!ceeqtfcpeg!ykvj!vjg!ejcrvgt!qh!vkvng!22-!Wpkvgf!Uvcvgu!Eqfg-!urgekhkgf!kp!vjku!
     cwvjqtk|gf!tgrtgugpvcvkxg!qh!
                                                  rgvkvkqp/!
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                                              !   K!jcxg!dggp!cwvjqtk|gf!vq!hkng!vjku!rgvkvkqp!qp!dgjcnh!qh!vjg!fgdvqt/!

                                              !   K!jcxg!gzcokpgf!vjg!kphqtocvkqp!kp!vjku!rgvkvkqp!cpf!jcxg!c!tgcuqpcdng!dgnkgh!vjcv!vjg!kphqtocvkqp!ku!vtwg!cpf!
                                                  eqttgev/!!


                                          K!fgenctg!wpfgt!rgpcnv{!qh!rgtlwt{!vjcv!vjg!hqtgiqkpi!ku!vtwg!cpf!eqttgev/!

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                                          !              Chief Executive Officer
                                                  Vkvng!aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!               !




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           Case 20-31845-sgj11 Doc 1 Filed 07/05/20                             Entered 07/05/20 21:03:24                  Page 5 of 21

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 29/! Ukipcvwtg!qh!cvvqtpg{!
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                                             Andrew B. Zollinger, Esq.
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                                            Pwodgt!    Uvtggv!
                                             Dallas                                                          TX           19801
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                                            Ekv{!                                                 Uvcvg!        \KR!Eqfg!!

                                             (214) 743-4545
                                            aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!!
                                                                                                             andrew.zollinger@dlapiper.com
                                                                                                            !aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!
                                            Eqpvcev!rjqpg!!                                                 Gockn!cfftguu!



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                                            aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa!aaaaaaaaaaaa!
                                            Dct!pwodgt!                                            Uvcvg!




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Case 20-31845-sgj11 Doc 1 Filed 07/05/20          Entered 07/05/20 21:03:24         Page 6 of 21




                                           ANNEX 1

            Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
voluntary petition in the United States Bankruptcy Court for the Northern District of Texas for
relief under chapter 11 of title 11 of the United States Code. The Debtors have moved for joint
administration of their cases, with the lead case number assigned to the chapter 11 case of
TriVascular Sales LLC.

                  Entity Name                         Federal Employer Identification
                                                              Number (FEIN)

   TriVascular Sales LLC                                          XX-XXXXXXX
   Endologix, Inc.                                                XX-XXXXXXX
   CVD/RMS Acquisition Corp.                                      XX-XXXXXXX
   TriVascular Technologies, Inc.                                 XX-XXXXXXX
   RMS/Endologix Sideways Merger Corp.                            XX-XXXXXXX
   Nellix, Inc.                                                   XX-XXXXXXX
   TriVascular, Inc.                                              XX-XXXXXXX
   Endologix Canada, LLC                                          XX-XXXXXXX
Case 20-31845-sgj11 Doc 1 Filed 07/05/20   Entered 07/05/20 21:03:24   Page 7 of 21
Case 20-31845-sgj11 Doc 1 Filed 07/05/20             Entered 07/05/20 21:03:24        Page 8 of 21




    RESOLUTIONS OF (I) THE MEMBERS OF THE BOARD OF DIRECTORS OF
      ENDOLOGIX, INC., CVD/RMS ACQUISITION CORP., TRIVASCULAR
     TECHNOLOGIES, INC., RMS/ENDOLOGIX SIDEWAYS MERGER CORP.,
     NELLIX, INC., AND TRIVASCULAR, INC.; AND (II) THE MANAGERS OF
         TRIVASCULAR SALES LLC AND ENDOLOGIX CANADA, LLC

                                        Dated: July 4, 2020

         Effective as of the date written above, the undersigned, being all of (i) the members of the
Board of Directors (the “Board”) of Endologix, Inc., a Delaware corporation (“Endologix”),
CVD/RMS Acquisition Corp., a Delaware corporation (“CVD/RMS”), TriVascular Technologies,
Inc., a Delaware corporation (“Technologies”), RMS/Endologix Sideways Merger Corp., a
Delaware corporation (“Sideways”), Nellix, Inc., a Delaware corporation (“Nellix”), TriVascular,
Inc., a California corporation (“TriVascular”); and (ii) the managers (the “Managers” and together
with the Board, collectively, the “Governing Bodies” and each, a “Governing Body”) of
TriVascular Sales LLC, a Texas limited liability company (“Sales”), and Endologix Canada, LLC,
a Delaware limited liability company (“Canada” and together with Endologix, CVD/RMS,
Technologies, Sideways, Nellix, TriVascular and Sales, the “Companies” and each, a
“Company”), do hereby consent to the following actions and adopt the following resolutions
pursuant to the bylaws, limited liability company agreements and the laws of the state of formation
or organization of each Company:

        WHEREAS, Endologix is party to that certain Forbearance Agreement and Amendment
to Facility Agreement, dated as of May 26, 2020, as amended, under which Deerfield Private
Design Fund IV, L.P., as agent (the “Term Loan Agent”) under that certain Amended and Restated
Facility Agreement, dated as of August 9, 2018 (as amended, modified or supplemented from time
to time, the “Prepetition Facility Agreement”), agreed to forbear from exercising certain default-
related rights and remedies against Endologix with respect to certain specified defaults under the
Prepetition Facility Agreement through July 8, 2020;

       WHEREAS, Endologix is party to that certain Forbearance Agreement and Amendment
to Credit Agreement, dated as of May 26, 2020, as amended, under which Deerfield ELGX
Revolver, LLC, as agent (the “ABL Agent”) under that certain Credit Agreement, dated as of
August 9, 2018 (as amended, modified or supplemented from time to time, the “Prepetition Credit
Agreement”), agreed to forbear from exercising certain default-related rights and remedies against
Endologix with respect to certain specified defaults under the Prepetition Credit Agreement
through July 8, 2020;

         WHEREAS, after conducting a robust marketing process, the Companies’ senior
management and legal, financial and other advisors engaged in arm’s length, good faith
negotiations with the Term Loan Agent, the ABL Agent and the lenders under the Prepetition
Facility Agreement and Prepetition Credit Agreement (collectively, “Deerfield”), with respect to
a Restructuring Support Agreement (the “RSA”), which contemplates, among other things, a
reorganization and recapitalization of the Companies pursuant to a plan of reorganization to be
filed in chapter 11 cases (the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of



                                                 1
Case 20-31845-sgj11 Doc 1 Filed 07/05/20                Entered 07/05/20 21:03:24         Page 9 of 21




the United States Code (the “Bankruptcy Code”) before the United States Bankruptcy Court for
the Northern District of Texas (the “Bankruptcy Court”);

        WHEREAS, in accordance with the RSA, the Companies’ senior management and legal,
financial and other advisors engaged in good faith negotiations with Deerfield and drafted the
Debtors’ Joint Plan of Reorganization under Chapter 11 of the Bankruptcy Code (as amended,
modified or revised from time to time, the “Plan”) and related Disclosure Statement for the
Debtors’ Joint Plan of Reorganization under Chapter 11 of the Bankruptcy Code (as amended,
modified or revised from time to time, the “Disclosure Statement”);

       WHEREAS, the Board previously established a special restructuring committee of the
Board (the “Restructuring Committee”) to evaluate possible restructuring transactions;

         WHEREAS, the Restructuring Committee has received, reviewed and considered the
recommendations of the Companies’ senior management and legal, financial and other advisors as
to the relative risks and benefits of pursuing chapter 11 proceedings;

       WHEREAS, the Restructuring Committee has received, reviewed and evaluated the
proposed RSA, Plan and Disclosure Statement, substantially in the forms presented to the
Restructuring Committee in advance of the date hereof;

        WHEREAS, the Restructuring Committee has unanimously determined that it is advisable
and in the best interests of the Companies, their creditors, interest holders and other interested
parties to enter into the RSA, commence the Chapter 11 Cases and pursue confirmation of the
Plan;

       WHEREAS, in connection with the Chapter 11 Cases, the Restructuring Committee and
the compensation committee of the Board (the “Compensation Committee”) have reviewed the
terms and conditions of a key employee incentive plan (“KEIP”) and key employee retention plan
(“KERP”), substantially in the forms presented to the Compensation Committee and Restructuring
Committee in advance of the date hereof, and considered the advantages of the KEIP and KERP
and the effect such plans will have on the business of the Companies;

        WHEREAS, the Restructuring Committee and the Compensation Committee have
unanimously determined that it is advisable and in the best interests of the Companies, their
creditors, interest holders, and other interested parties to adopt the KEIP and KERP;

        WHEREAS, the Board has received, reviewed and considered the recommendations of
the Restructuring Committee and the Compensation Committee as well as the Companies’ senior
management and legal, financial and other advisors regarding, among other things, (i) the potential
present and future liabilities of the Companies, the strategic alternatives available to them, and the
impact of the foregoing on the Companies’ business; (ii) the proposed restructuring and
recapitalization transactions contemplated in the RSA, Plan and Disclosure Statement, and the
transactions contemplated thereby; (iii) the DIP Loan Documents and DIP Financing Transactions
(as defined below); and (iv) the advantages and effects of the KEIP and KERP;

         WHEREAS, the Governing Bodies, on behalf of the Companies, have determined that it
is in the best interests of the Companies, their creditors, interest holders, and other interested parties

                                                    2
Case 20-31845-sgj11 Doc 1 Filed 07/05/20             Entered 07/05/20 21:03:24       Page 10 of 21




to enter into the RSA, commence the Chapter 11 Cases, pursue confirmation of the Plan and
consummate the transactions set forth below; and

       NOW, THEREFORE, IT IS HEREBY:

Approval of Bankruptcy Filing

        RESOLVED, that in the judgment of the Governing Bodies, it is advisable and in the best
interests of the Companies, their creditors, interest holders and other interested parties that the
Companies are authorized to file or cause to be filed voluntary petitions under chapter 11 of the
Bankruptcy Code in the Bankruptcy Court; and it is further

         RESOLVED, that John Onopchenko, the Companies’ Chief Executive Officer, Cindy
Pinto, the Companies’ Interim Chief Financial Officer, and such other officer(s) that the
Companies shall from time to time designate (each, an “Authorized Officer” and collectively, the
“Authorized Officers”), are hereby authorized, empowered and instructed to cause preparation of
voluntary petitions for relief under chapter 11 of the Bankruptcy Code on behalf of the Companies;
and it is further

         RESOLVED, that, upon preparation, such Authorized Officers are hereby authorized, on
behalf of and in the name of the Companies, to cause such voluntary petitions to be executed, and
verified in such form as such Authorized Officers, with advice of counsel, deem appropriate and
that upon execution such Authorized Officers, with advice of counsel, are hereby authorized to
cause such petitions to be filed with the Bankruptcy Court to commence the Chapter 11 Cases; and
it is further

         RESOLVED, that the Authorized Officers are authorized to negotiate, execute, deliver
and file with the Bankruptcy Court (or direct others to do so on behalf of the Companies) all
necessary documents, including, without limitation, all petitions, affidavits, schedules, motions,
lists, applications, pleadings, orders and other papers and, in connection therewith, to employ and
retain all assistance by legal counsel, financial advisors, accountants or other professionals and to
take any and all actions that they deem necessary and proper in connection with the Chapter 11
Cases; and it is further

       RESOLVED, that, following commencement of the Chapter 11 Cases, the Authorized
Officers are hereby authorized, on behalf of and in the name of the Companies, to seek
confirmation of the Plan and to effectuate the transactions contemplated therein; and it is further

Restructuring Support Agreement

        RESOLVED, that in the judgment of the Governing Bodies, it is desirable and in the best
interests of the Companies, their creditors, interest holders, and other interested parties, that the
Companies enter into the RSA, with such changes, additions, and modifications thereto as an
Authorized Officer executing the same shall approve, such approval to be conclusively evidenced
by such Authorized Officer’s execution and delivery thereof; and it is further



                                                 3
Case 20-31845-sgj11 Doc 1 Filed 07/05/20             Entered 07/05/20 21:03:24       Page 11 of 21




        RESOLVED, that the Authorized Officers are empowered, authorized and directed, with
full power of delegation, on behalf of the Companies, to cause the Companies to negotiate, execute,
and deliver the RSA and any related documents contemplated thereby, in such form and with such
changes and amendments as such Authorized Officer shall approve as necessary or desirable;

Debtor-in-Possession Financing

        RESOLVED, that with respect to each Company, as a debtor and debtor-in-possession
under the Chapter 11 Cases shall be, and hereby is, authorized to: (a) undertake any and all
transactions contemplated in each of the DIP Loan Documents (as defined below) to which such
Company is a party, on substantially the terms and subject to the conditions as set forth in the DIP
Loan Documents or as may hereafter be fixed or authorized by each of the Authorized Officers,
acting alone or with one or more other Authorized Officers, (b) borrow funds, provide guaranties,
and undertake any and all related transactions contemplated thereby, (c) satisfy certain obligations
with the proceeds thereof (collectively, the “DIP Financing Transactions”) with such Lenders (as
defined below) and on such terms as may be approved by any one or more of the Authorized
Officers, as reasonably necessary for the continuing conduct of the affairs of such Companies,
(d) execute and deliver and cause such Company to incur and perform its obligations under the
DIP Loan Documents and DIP Financing Transactions, (e) obtain entry of interim and final orders
of the Bankruptcy Court approving the DIP Financing Transactions; (f) finalize the DIP Loan
Documents and DIP Financing Transactions, consistent in all material respects with those that
were previously presented to the Governing Bodies, with such changes, additions, and
modifications thereto as any such Authorized Officer executing the same shall approve, such
approval to be conclusively evidenced by such Authorized Officer’s execution and delivery
thereof; and (g) pay related fees and grant security interests in and liens upon some, any or all of
such Company’s assets, as may be deemed necessary by any one or more of the Authorized
Officers in connection with such DIP Loan Documents and DIP Financing Transactions; and it is
further

        RESOLVED, that with respect to each Company, each of the Authorized Officers, acting
alone or with one or more other Authorized Officers be, and they hereby are, authorized, directed,
and empowered in the name of, and on behalf of, such Company, as debtor and debtor-in-
possession, to (a) take such actions and negotiate or cause to be prepared and negotiated and to
execute, file, deliver, and cause each Company to incur and perform its obligations under (i) the
Secured Priming Delayed Draw Term Loan Debtor-in-Possession Credit Agreement (the “DIP
Credit Agreement”), by and among Endologix, as borrower, the other Loan Parties (as defined in
the DIP Credit Agreement) party thereto from time to time, Deerfield Private Design Fund IV, LP,
as agent for itself and the Lenders (as defined in the DIP Credit Agreement) (in such capacity,
together with its successors and assigns in such capacity, the “DIP Agent”), (ii) the other Loan
Documents (as defined in the DIP Credit Agreement), and (iii) all other agreements, instruments
and documents (including, without limitation, any and all other intercreditor agreement, joinders,
mortgages, deeds of trust, consents, notes, pledge agreements, security agreements, control
agreements, and any agreements with any entity (including governmental authorities) requiring or
receiving cash collateral, letters of credit, or other credit support with proceeds from the DIP Loan
Documents) or any amendments thereto or waivers thereunder (including, without limitation, any
amendments, waivers, or other modifications of any of the DIP Loan Documents) that may be
contemplated by, or required in connection with, the DIP Loan Documents and the DIP Financing

                                                 4
Case 20-31845-sgj11 Doc 1 Filed 07/05/20             Entered 07/05/20 21:03:24       Page 12 of 21




Transactions (collectively, the “DIP Loan Documents”), (b) incur and pay or cause to be paid all
fees and expenses related to the DIP Loan Documents and DIP Financing Transactions, and (c)
engage such persons, in each case, as such Authorized Officer shall in his or her judgment
determine to be necessary or appropriate to consummate the transactions contemplated by the DIP
Loan Documents, which determination shall be conclusively evidenced by his or her execution or
delivery thereof; and it is further

       RESOLVED, that the form, terms, and provisions of the DIP Loan Documents be, and the
same hereby are in all respects approved, and that with respect to each Company, any Authorized
Officers are hereby authorized and empowered, in the name of and on behalf of such Company, to
execute and deliver and to execute and file each of the DIP Loan Documents to which such
Company is a party, each substantially in the form previously submitted to the Governing Bodies,
with such changes, additions, and modifications thereto as the Authorized Officers of such
Company executing the same shall approve, such approval to be conclusively evidenced by such
Authorized Officer’s execution and delivery thereof; and it is further

        RESOLVED, that with respect to each Company, each of the Authorized Officers be, and
each of them hereby are, authorized and empowered to authorize the DIP Agent to file any UCC
financing statements and any necessary assignments for security or other documents in the name
of each Company that the DIP Agent deems necessary or appropriate to perfect any lien or security
interest granted under the DIP Loan Documents, including any such UCC financing statement
containing a blanket, generic description of collateral, such as “all assets,” “all property now or
hereafter acquired” and other similar descriptions of like import, and to execute and deliver, and
to record or authorize filings in respect of intellectual and other property of such Company, in each
case as the DIP Agent may reasonably request to perfect the security interests of the DIP Agent on
behalf of itself and the other secured parties under the DIP Loan Documents; and it is further

       RESOLVED, that with respect to each Company, each of the Authorized Officers be, and
hereby are, authorized and empowered to execute and deliver any amendments, supplements,
modifications, renewals, replacements, consolidations, substitutions, and extensions of any of the
DIP Loan Documents or any revised budgets or any of the other DIP Loan Documents, and to
execute and file on behalf of such Company all schedules, lists, motions, budgets, papers, or
documents, which shall in his or her sole judgment be necessary, proper, or advisable, which
determination shall be conclusively evidenced by his or her execution thereof; it is further

KEIP and KERP

       RESOLVED, that the KEIP and KERP are authorized, adopted and approved in all
respects, subject to approval thereof by the Bankruptcy Court; and it is further

Retention of Advisors

        RESOLVED, that the Authorized Officers are hereby authorized and directed to retain on
behalf of the Companies, upon such terms and conditions as the Authorized Officers shall approve,
subject to Bankruptcy Court approval, the following professionals (collectively, the
“Professionals”) to represent the Companies in connection with the Chapter 11 Cases:



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Case 20-31845-sgj11 Doc 1 Filed 07/05/20             Entered 07/05/20 21:03:24       Page 13 of 21




                      DLA Piper LLP (US), as the Companies’ bankruptcy counsel;

                      FTI Consulting, Inc., as the Companies’ financial advisor;

                      Jeffries, LLC, as the Companies’ investment banker; and

                      Omni Agent Solutions, as the Companies’ noticing, claims, and solicitation
                       agent.
        RESOLVED, that with respect to the Professionals, the Authorized Officers are hereby
authorized and directed to (i) execute retention agreements and pay retainers prior to and
immediately upon the filing of the Chapter 11 Cases, (ii) continue to periodically replenish, as
required, the retainers previously paid by the Companies to the Professionals on account of the
services rendered or to be rendered by them, and (iii) cause to be filed applications of authority to
retain the Professionals; and it is further

        RESOLVED, that the Authorized Officers are authorized and directed to employ any other
firms as professionals or consultants to the Companies that are deemed necessary to represent and
assist the Companies in carrying out the duties under the Bankruptcy Code and, in connection
therewith, the Authorized Officers of the Companies are hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Cases and cause to be filed appropriate applications for authority to retain
the services of such firms; and it is further

General Authorization and Ratification

    RESOLVED, that, to the fullest extent allowed by applicable law, any and all past actions
heretofore taken by any Authorized Officers, in the name and on behalf of the Companies, in
furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
confirmed, and approved in all respects; and it is further

    RESOLVED, that the Authorized Officers are authorized and directed, in the name of and on
behalf of the Companies, under the Companies’ corporate seal or otherwise, to make, enter into,
execute, deliver and file any and all other or further agreements, documents, certificates, materials
and instruments, to disburse funds of the Companies, to take or cause to be taken any and all other
actions, and to incur all such fees and expenses as any such Authorized Officer deems to be
necessary, appropriate or advisable to carry out the purposes of the foregoing resolutions, the RSA,
the Plan, the Disclosure Statement and the transactions contemplated thereunder and/or to
successfully complete the Chapter 11 Cases, the taking of any such action or execution of any such
documents and/or agreements to constitute conclusive evidence and the exercise of such
discretionary authority; and it is further

       RESOLVED, that all acts lawfully done or actions lawfully taken by any Authorized
Officer to seek relief under chapter 11 of the Bankruptcy Code or in connection with the Chapter
11 Cases, or any matter related thereto, be, and hereby are, adopted, ratified, confirmed and
approved in all respects as the acts and deeds of the Companies.


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       Case 20-31845-sgj11 Doc 1 Filed 07/05/20                                Entered 07/05/20 21:03:24                     Page 14 of 21




          Fill in this information to identify the case:
          Debtor name Nellix, Inc.                                                    ____
          United States Bankruptcy Court for the: Northern District of Texas
                                                           (State)                                                          Check if this is
                                                                                                                              an amended
          Case number (if known):
                                                                                                                              filing


        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured
        Claims and Are Not Insiders                                                      12/15
        A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
        the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
        not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
        among the holders of the 30 largest unsecured claims.



                                                                                                                                Amount of unsecured claim
                                                                                                                               If the claim is fully unsecured,
                                                                                                                                 fill in only unsecured claim
                                                                                                                                 amount. If claim is partially
                                                                                                                                  secured, fill in total claim
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                                                                                      Nature of the                          of collateral or setoff to calculate
                                                                                         claim (for                                     unsecured claim.
                                                                                      example, trade        Indicate if                    Ded
                                                Name, telephone number,                 debts, bank          claim is                      ucti
Name of creditor and complete mailing
                                               and email address of creditor               loans,          contingent,                      on
    address, including zip code
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1   Wilmington Trust, N.A. as Indenture                                                 Unsecured                                                    Unknown
       Trustee of the 5% Mandatory                                                        Notes
       Convertible Notes due 2024
     c/o Endologix Account Manager
        50 S. 6th Street, Suite 1290
         Minneapolis, MN 55402

2   Wilmington Trust, N.A. as Indenture                                                 Unsecured                                                  Unknown
       Trustee of the 5% Voluntary                                                        Notes
       Convertible Notes due 2024
     c/o Endologix Account Manager
        50 S. 6th Street, Suite 1290
         Minneapolis, MN 55402




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        Case 20-31845-sgj11 Doc 1 Filed 07/05/20                         Entered 07/05/20 21:03:24               Page 15 of 21



                                                                                                                    Amount of unsecured claim
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                                                                                                                     fill in only unsecured claim
                                                                                                                     amount. If claim is partially
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                                                                                example, trade     Indicate if                 Ded
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3          Bank of America, N.A.                   Patrick Loughlin               PPP Loan
            701 B Street, #1600                     619- 515-7517                                                                    $9,812,727.00
           San Diego, CA 92101               patrick.loughlin@bofa.com

4          Japan Lifeline Co Ltd                   03-6711-5200                   Unsecured
      Tennoz Ocean Square 25F, 2-2-20                                               Notes                                            $4,280,500.00
          Tokyo, Japan 140-0002

5           Maine Medical Center              AP Shared Services Dept.             Patient
        c/o AP Shared Services Dept.               207-662-0111                 Reimbursement                                         $885,445.19
             22 Bramhall Street
             Portland, OR 04102

6                   FedEx                          888-780-4580                  Trade Claim                                          $592,759.54
                P.O. Box 7221               customersolutions@fedex.com
             Pasadena, CA 91109
7     Stradling, Yocca, Carlson & Rauth            949-725-4019                  Professional                                         $285,842.40
       660 Newport Center Dr., # 1600                                              Services
          Newport Beach, CA 92660

8              OSCOR, Inc.                          727-937-2577                 Trade Claim                                          $249,020.52
             3816 Desoto Blvd.                    sales@oscor.com
           Palm Harbor, FL 34683

9          LinkedIn Corporation                    855-655-5653                  Trade Claim                                          $155,042.76
       62228 Collections Center Drive
          Chicago, IL 60693-0622

10   Wells Fargo Bank, N.A., as Indenture          213-253-7508                   Unsecured                                           $150,000.00
      Trustee of the 3.25% Convertible                                              Notes
            Senior Notes due 2020
               P.O. Box 1450
           Los Angeles, CA 90071




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        Case 20-31845-sgj11 Doc 1 Filed 07/05/20                        Entered 07/05/20 21:03:24              Page 16 of 21



                                                                                                                  Amount of unsecured claim
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                                                                                                                   fill in only unsecured claim
                                                                                                                   amount. If claim is partially
                                                                                                                    secured, fill in total claim
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                                                                              example, trade     Indicate if                 Ded
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Name of creditor and complete mailing
                                          and email address of creditor            loans,       contingent,                   on
    address, including zip code
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11           Robert C. Griffin             Matthew M. Holycross, Esq.           Litigation     C, U, D                                 Unknown
       c/o Springer & Steinberg, P.C.            303-861-2800
        1600 Broadway, Suite 1200         mholycross@springersteinberg.
          Johnson City, CO 80202                     com

12            Kevin Neve, Sr.                 Thomas C. Jessee, Esq.            Litigation     C, U, D                               Unknown
         c/o Thomas C. Jessee, Esq.              423-928-7175
               P.O. Box 997                jjlaw@jesseeandjessee.com
          Johnson City, TN 37605

13             David Begala                   Thomas C. Jessee, Esq.            Litigation     C, U, D                               Unknown
         c/o Thomas C. Jessee, Esq.              423-928-7175
               P.O. Box 997                jjlaw@jesseeandjessee.com
          Johnson City, TN 37605

14          Dr. Thomas J. Fogarty             David A. Levine, Esq.             Litigation     C, U, D                               Unknown
          c/o David A. Levine, Esq.              650-242-4210
         2400 Geng Road, Suite 120
             Palo Alto, CA 94303

15           Kaiser Permanente               Robert C. Griffith, Esq.           Litigation     C, U, D                               Unknown
      c/o Rawlings & Associates, PLLC
              1 Eden Parkway
            LaGrange, KY 40031

16            Dr. Andrew Kerr                 Charles W. Saber, Esq.            Litigation     C, U, D                               Unknown
            c/o Charles W. Saber                  202-420-2200
      2029 Century Park East, 6th Floor      csaber@blankrome.com
          Washington, D.C. 20006

17            Richard Heuser                  Peter E. Heuser, Esq.             Litigation     C, U, D                               Unknown
         c/o Peter E. Heuser, Esq.           pheuser@schwabe.com
     1211 SW Fifth Avenue, Suite 1900
            Portland, OR 97204




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       Case 20-31845-sgj11 Doc 1 Filed 07/05/20                        Entered 07/05/20 21:03:24              Page 17 of 21



                                                                                                                 Amount of unsecured claim
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                                                                                                                  fill in only unsecured claim
                                                                                                                  amount. If claim is partially
                                                                                                                   secured, fill in total claim
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                                          Name, telephone number,              debts, bank       claim is                   ucti
Name of creditor and complete mailing
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    address, including zip code
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18             James Hayes                   Janet G. Abaray, Esq.             Litigation     C, U, D                                 Unknown
          c/o Burg Simpson, P.C.                513-852-5600
       201 E. Fifth Street, Suite 1340
           Cincinnati, OH 45202

19             Michael Lakey                Leslie W. O’Leary, Esq.            Litigation     C, U, D                               Unknown
       c/o Johnson, Johnson, Lucas &             541-484-2434
                 Middleton                loleary@justicelawyers.com
           975 Oak St., Suite 1050
             Eugene, OR 97401

20              Donald Reed                 Leslie W. O’Leary, Esq.            Litigation     C, U, D                               Unknown
       c/o Johnson, Johnson, Lucas &             541-484-2434
                 Middleton                loleary@justicelawyers.com
           975 Oak St., Suite 1050
             Eugene, OR 97401

21             Ronald Santoro               Leslie W. O’Leary, Esq.            Litigation     C, U, D                               Unknown
       c/o Johnson, Johnson, Lucas &             541-484-2434
                 Middleton                loleary@justicelawyers.com
           975 Oak St., Suite 1050
             Eugene, OR 97401

22           Raymond Stockton                Paul D. Friedman, Esq.            Litigation     C, U, D                               Unknown
         c/o Paul D. Friedman, Esq.              602-777-7000
      390 E. Camelback Rd., Suite 403    pfriedman@burgsimpson.com
             Phoenix, AR 85016

23            Robert Salinas               Penny J. Manship, Esq.              Litigation     C, U, D                               Unknown
          c/o Burg Simpson, P.C.               303-792-5595
     8310 South Valley Highway, #270     pmanship@burgsimpson.com
          Englewood, CO 80112

24          Charles Silversteen            Frederick S. Longer, Esq.           Litigation     C, U, D                               Unknown
        510 Walnut Street, Suite 500             215-592-1500
          Philadelphia, PA 19106             flonger@lfsblaw.com


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       Case 20-31845-sgj11 Doc 1 Filed 07/05/20                      Entered 07/05/20 21:03:24                Page 18 of 21



                                                                                                                 Amount of unsecured claim
                                                                                                                If the claim is fully unsecured,
                                                                                                                  fill in only unsecured claim
                                                                                                                  amount. If claim is partially
                                                                                                                   secured, fill in total claim
                                                                                                               amount and deduction for value
                                                                             Nature of the                    of collateral or setoff to calculate
                                                                                claim (for                               unsecured claim.
                                                                             example, trade     Indicate if                 Ded
                                          Name, telephone number,              debts, bank       claim is                   ucti
Name of creditor and complete mailing
                                         and email address of creditor            loans,       contingent,                   on
    address, including zip code
                                                   contact                    professional    unliquidated,                  for
                                                                                                               Total
                                                                              services, and    or disputed                  val
                                                                                                               claim,
                                                                               government                                    ue
                                                                                                                  if                  Unsecured
                                                                                contracts)                                    of
                                                                                                              partiall                   claim
                                                                                                                            coll
                                                                                                                   y
                                                                                                                            ater
                                                                                                              secured
                                                                                                                              al
                                                                                                                             or
                                                                                                                            seto
                                                                                                                              ff
25             Ventois, Inc.                     Suman Kota                  Trade Claims
       382 Boston Turnpike Suite 201            508-963-6613                                                                      $66,025.00
          Shrewsbury, MA 01545                skota@ventois.com

26      Millennium Research Group               416-364-7776                 Trade Claims
         PO Box 9519 Station A                                                                                                    $63,500.00
         Toronto, ON M5W 2K3

27       Qualtech Consulting Corp.             886-2-2740-1778               Trade Claims
       1 Fl., No. 13, Lane 103 Sec. 1,       Irene@qualtechs.com                                                                  $60,838.14
            Sinsheng South Road
         Taipei City, Taiwan 10652

28         Baker & McKenzie                     202-452-7000                  Professional
        815 Connecticut Ave N.W.                                                Services                                          $59,309.50
       Washington, D.C. 20006-4078

29               Demo Arts                    651-450-7400 x718               Professional
          1777 Oakdale Ave West                                                 Services                                          $55,878.33
            St. Paul, MN 55118

30        Merit Medical System                    Nick Francis               Trade Claims
            P.O. Box 204842                      801-208-4518                                                                     $55,503.10
          Dallas, TX 75320-4842             nick.francis@merit.com




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    Case 20-31845-sgj11 Doc 1 Filed 07/05/20            Entered 07/05/20 21:03:24                Page 19 of 21




                          Northern                  Texas




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                                               Have the 30 Largest Unsecured Claims and Are Not Insiders


                                     $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$!




             $$$$$$$$$$$$$$!
             07/05/2020                  /s/ John Onopchenko
                                         $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$




!                                        $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$!
                                         John Onopchenko

                                         Chief Executive Officer
                                         $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$!
Case 20-31845-sgj11 Doc 1 Filed 07/05/20                      Entered 07/05/20 21:03:24            Page 20 of 21




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

    In re:                                                 § Chapter 11
                                                           §
    TRIVASCULAR SALES LLC, et al.,1                        § Case No. 20-[●] (●)
                                                           §
                                Debtors.                   § (Joint Administration Requested)

                    CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                   AND LIST OF EQUITY SECURITY HOLDERS PURSUANT TO
                      BANKRUPTCY RULES 1007(a)(1), 1007(a)(3) and 7001.1

             Pursuant to Rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the above-captioned debtors (each, a “Debtor” and collectively, the “Debtors”) hereby

state as follows:

             1.      The following entities directly or indirectly own, control, or hold 5% or more of the
                     voting securities of Debtor Endologix, Inc.: ArrowMark Colorado Holdings LLC,
                     Corrib Capital Management, L.P., Wellington Management Co. LLP, and
                     Vanguard Explorer Fund.

             2.      Debtor Endologix, Inc., whose address is 2 Musick, Irvine, California, 92618, owns
                     100% of the equity interests in the following Debtors:

                           a.   CVD/RMS Acquisition Corp.;
                           b.   TriVascular Technologies, Inc.;
                           c.   Nellix, Inc.; and
                           d.   RMS/Endologix Sideways Merger Corporation.

             3.      Debtor TriVascular Technologies, Inc., whose address is 2 Musick, Irvine,
                     California, 92618 owns, 100% of the equity interests in Debtor TriVascular, Inc.

             4.      Debtor TriVascular Inc., whose address is 2 Musick, Irvine, California, 92618,
                     owns 100% of the equity interests in the following Debtors:

                           a. TriVascular Sales LLC; and
                           b. Endologix Canada, LLC.

1
             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax
             identification number, are: TriVascular Sales LLC (9179), Endologix, Inc. (8265), CVD/RMS Acquisition
             Corp. (8438), TriVascular Technologies, Inc. (7313), RMS/Endologix Sideways Merger Corp. (2974),
             Nellix, Inc. (8416), TriVascular, Inc. (2620), and Endologix Canada, LLC (2872). The corporate
             headquarters and the mailing address for the Debtors listed above is 2 Musick, Irvine, California 92618.
    Case 20-31845-sgj11 Doc 1 Filed 07/05/20                 Entered 07/05/20 21:03:24                           Page 21 of 21




                          Northern                      Texas




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                                     Consolidated Corporate Ownership Statement and List of Equity Security Holders Pursuant to Bankruptcy Rules
                                     $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$!
                                      1007(A)(1), 1007(A)(3) and 7001.1




             $$$$$$$$$$$$$$!
             07/05/2020                  /s/ John Onopchenko
                                         $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$




!                                         $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$!
                                          John Onopchenko

                                          $$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$$!
                                           Chief Executive Officer
